
522 Pa. 489 (1989)
563 A.2d 1390
Ann and Craig BARTHOLOMEW, on Behalf of their son, Jonathan BARTHOLOMEW, and the League of Women Voters of Pennsylvania, on behalf of its members
v.
Constance B. FOSTER, in her official capacity as Commissioner of the Pennsylvania Insurance Department.
Appeals of The INSURANCE FEDERATION OF PA., INC., Intervenor at No. 17; Anne Grahn, Intervenor at No. 18; State Farm Mutual Automobile Insurance Company, Intervenor at No. 19; Nationwide Mutual Insurance Company, Intervenor at No. 20; and Erie Insurance Group, Intervenor at No. 21.
Supreme Court of Pennsylvania.
Argued January 18, 1989.
Decided October 3, 1989.
Reargument Denied November 30, 1989.
*490 Jeffrey A. Less, A. Richard Feldman, James J. McCabe, Jr., Jane L. Dalton, Philadelphia, H. Lee Roussel, Harrisburg, Richard DiSalle, Susan Hileman, and Kim D. Eaton, Pittsburgh, for appellants.
David F. Snyder, Harrisburg, for American Ins. Assn., amicus curiae in support of appellant at all Nos.
Jordan Lorence, Cimron Campbell, Washington, D.C., and James N. Clymer, Lancaster, for Concerned Women for America, amicus curiae in support of appellant at all Nos.
John G. Knorr, III and Calvin Koons, Harrisburg, for Constance B. Foster at all Nos.
Stefen Presser, Philadelphia, Deborah A. Ellis, and Rita Bernstein, Philadelphia, for Ann and Craig Bartholomew, et al. at all Nos.
Paul McHale, Bethlehem, for Pa. House of Rep., amicus curiae in support of appellee at all Nos.
Patricia A. Rodgers, Greensburg, for Pa. Fed. of Business &amp; Prof. Women's Clubs, Inc., amicus curiae in support of appellee at all Nos.
John S. Summers, Philadelphia, for American Assn. of Univ. Women, amicus curiae in support of appellee at all Nos.
Alaine S. Williams, Philadelphia, for Pa. AFL-CIO, amicus curiae in support of appellee at all Nos.
Seth F. Kreimer and Jeffrey Ivan Pasek, Philadelphia, for American Jewish Congress of Phila., for amicus curiae in support of appellee at all Nos.
Before NIX, C.J., and LARSEN, FLAHERTY, McDERMOTT, ZAPPALA, PAPADAKOS and STOUT, JJ.

ORDER
PER CURIAM:
The Court being evenly divided, the Order of the Commonwealth Court is affirmed.
*491 STOUT, former J., did not participate in the decision of this case.
McDERMOTT, ZAPPALA and PAPADAKOS, JJ., dissent.

ORDER
PER CURIAM:
AND NOW, this 30th day of November, 1989, the Application for Reargument is denied.
ZAPPALA and PAPADAKOS, JJ., dissent and would grant reargument.
